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                             UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                 x Chapter 11
In re:                                                           : Case No. 24-12534 (JKS)
CarePoint Health Systems Inc. d/b/a Just Health                  :
Foundation, et al., 1                                            : (Jointly Administered)
                                                                 :
                                                                 :
                                    Debtors.                     :
                                                                 x
    THIRD AMENDED2 NOTICE OF AGENDA REGARDING MATTERS SCHEDULED
                           FOR HEARING ON
                    JANUARY 17, 2025 AT 1:30 P.M. (ET)3


               The Hearing Has Been Moved to 1:30 P.M. (ET)
                            This proceeding will be conducted in-person.
    All counsel and witnesses are expected to attend unless permitted to appear remotely via Zoom.
                         Please refer to Judge Stickles’ Chambers Procedures
         (https://www.deb.uscourts.gov/content/judge-j-kate-stickles) and the Court’s website
      (http://www.deb.uscourts.gov/ecourt-appearances) for information on who may participate
    remotely, the method of allowed participation (video or audio), Judge Stickles’ expectations of
                    remote participants, and the advance registration requirements.

     Registration is required by 4:00 p.m. (Prevailing Eastern Time) the business day before the
     hearing unless otherwise noticed using the eCourtAppearances tool available on the Court’s
                                               website.



1
  The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification
number are: (i) Bayonne Intermediate Holdco, LLC (7716); (ii) Benego CarePoint, LLC (2199); (iii) Briar Hill
CarePoint, LLC (iv) CarePoint Health Management Associates Intermediate Holdco, LLC (none); (v) CarePoint
Health Management Associates, LLC d/b/a CarePoint Health (3478); (vi) CarePoint Health Systems, Inc. d/b/a Just
Health Foundation (6996); (vii) CH Hudson Holdco, LLC (3376); (viii) Christ Intermediate Holdco, LLC (3376); (ix)
Evergreen Community Assets (1726); (x) Garden State Healthcare Associates, LLC (4414); (xi) Hoboken
Intermediate Holdco, LLC (2105); (xii) Hudson Hospital Holdco, LLC (3869); (xiii) Hudson Hospital Opco, LLC
d/b/a CarePoint Health-Christ Hospital (0608); (xiv) HUMC Holdco, LLC (3488); (xv) HUMCO Opco, LLC d/b/a
CarePoint Health-Hoboken University Medical Center (7328); (xvi) IJKG, LLC (7430); (xvii) Just Health MSO, LLC
(1593); (xviii) New Jersey Medical and Health Associates d/b/a CarePoint Health Medical Group (0232); (xix) Quality
Care Associates, LLC (4710); (xx) Sequoia BMC Holdco, LLC (9812); (xxi) IJKG Opco LLC d/b/a CarePoint Health-
Bayonne      Medical     Center    (2063). The       address    for   CarePoint    Health    Systems      Inc.     is
308 Willow Avenue, Hoboken, NJ 07030.

2
  All Amendments are highlighted in Bold.
3
  All motions and other pleadings referenced herein are available online at the following web address:
https://dm.epiq11.com/CarePoint

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I.      MATTERS GOING FORWARD



       1.      Motion of the Debtors and the Official Committee of Unsecured Creditors for Entry
               of an Order (I) Approving the Disclosure Statement on an Interim Basis; (II)
               Scheduling a Combined Hearing on Final Approval of the Disclosure Statement,
               Plan Confirmation and Deadlines Related Thereto; (III) Approving the Solicitation,
               Notice and Tabulation Procedures and Forms Related Thereto; and (IV) Granting
               Related Relief [Filed: 01/08/2025; D.I. 417].

               Related Documents:

               A.      Notice of Filing of Plan Term Sheet [Filed: 12/30/2024; D.I. 378].

               B.      Combined Disclosure Statement and Joint Chapter 11 Plan of
                       Reorganization [Filed: 01/08/2025; D.I. 412].

               C.      Order Granting Motion to Shorten Notice and Schedule Expedited Hearing
                       with Respect to Motion of the Debtors and The Official Committee of
                       Unsecured Creditors Seeking Authority to File Combined Disclosure
                       Statement and Plan [Filed: 01/08/2025; D.I. 419].

               Objection Deadline: January 15, 2025 at 10:00 a.m.

               Responses:

               D.      Objection of Senior Secured Agents to Interim Approval of Plan
                       Proponents’ Combined Disclosure Statement and Joint Chapter 11 Plan of
                       Reorganization [Filed: 01/15/2025; D.I. 458].

               E.      Objection of Senior Secured Agents to Plan Proponents’ Proposed
                       Confirmation Schedule [Filed: 01/15/2025; D.I. 459].

               F.      Insight Management and Consulting Services, Inc.’s Objection to the
                       Debtors’ Motion (I) Approving the Combined Disclosure Statement and
                       Plan on an Interim Basis for Solicitation Purposes Only; (II) Establishing
                       Solicitation and Tabulation Procedures; (III) Approving the Form of Ballot
                       and Solicitation Materials; (IV) Establishing the Voting Record Date; (V)
                       Fixing the Date, Time, and Place for the Combined Hearing and the
                       Deadline for Filing Objections Related Thereto; and (VI) Granting Related
                       Relief [Filed: 01/15/2025; D.I. 460].

               G.      Objection and Reservation of Rights with Respect to motion of the Debtors
                       and the Official Committee of Unsecured Creditors for Entry of an Order
                       (I) Approving the Disclosure Statement on an Interim Basis; (II)

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                     Scheduling a Combined Hearing on Final Approval of the Disclosure
                     Statement, Plan Confirmation and Deadlines Related Thereto; (III)
                     Approving the Solicitation, Notice and Tabulation Procedures and Forms
                     Related Thereto; and (IV) Granting Related Relief [Filed: 01/15/2025; D.I.
                     462].

               H.    Objection and Reservation of Rights of Creditor, Resolute Perioperative
                     Services, LLC to the Debtors and the Official Committee of Unsecured
                     Creditors’ Joint Motion for the Entry of an Order Approving the Combined
                     Disclosure Statement and Chapter 11 Plan of Reorganization [Filed:
                     01/15/2025; D.I. 463].

               I.    Reservation of Rights of J2 Funding, LLC, Signature RX Investments, LLC,
                     and Bills Right LLC to Motion of the Debtors and the Official Committee
                     of Unsecured Creditors for Entry of Order (I) Approving the Disclosure
                     Statement on an Interim Basis; (II) Scheduling a Combined Hearing on
                     Final Approval of the Disclosure Statement, Plan Confirmation and
                     Deadlines Related Thereto; (III) Approving the Solicitation, Notice and
                     Tabulation Procedures and Forms Related Thereto; and (IV) Granting
                     Related Relief [Filed: 01/15/2025; D.I. 464].

               J.    Objection of CarePoint Health Captive Assurance Company, LLC to
                     Motion of the Debtors and the Official Committee of Unsecured Creditors
                     for Entry of an Order (I) Approving the Disclosure Statement on an Interim
                     Basis; (II) Scheduling a Combined Hearing on Final Approval of the
                     Disclosure Statement, Plan Confirmation and Deadlines Related Thereto;
                     (III) Approving the Solicitation, Notice and Tabulation Procedures and
                     Forms Related Thereto; and (IV) Granting Related Relief [Filed:
                     01/15/2025; D.I. 466].

               K.    BMC Hospital, LLC’s Objection to Motion of the Debtors and the Official
                     Committee of Unsecured Creditors for Entry of Order (I) Approving the
                     Disclosure Statement on an Interim Basis; (II) Scheduling a Combined
                     Hearing on Final Approval of the Disclosure Statement, Plan Confirmation
                     and Deadlines Related Thereto; (III) Approving the Solicitation, Notice and
                     Tabulation Procedures and Forms Related Thereto; and (IV) Granting
                     Related Relief [Filed: 01/15/2025; D.I. 467].

               L.    Objection and Reservation of Rights to Motion of the Debtors and the
                     Official Committee of Unsecured Creditors for Entry of Order (I)
                     Approving the Disclosure Statement on an Interim Basis; (II) Scheduling a
                     Combined Hearing on Final Approval of the Disclosure Statement, Plan
                     Confirmation and Deadlines Related Thereto; (III) Approving the
                     Solicitation, Notice and Tabulation Procedures and Forms Related Thereto;
                     and (IV) Granting Related Relief [Filed: 01/15/2025; D.I. 468].

               M.    Objection of the U.S. Trustee to Motion of the Debtors and the Official
                     Committee of Unsecured Creditors for Entry of Order (I) Approving the
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                     Disclosure Statement on an Interim Basis; (II) Scheduling a Combined
                     Hearing on Final Approval of the Disclosure Statement, Plan Confirmation
                     and Deadlines Related Thereto; (III) Approving the Solicitation, Notice and
                     Tabulation Procedures and Forms Related Thereto; and (IV) Granting
                     Related Relief [Filed: 01/15/2025; D.I. 469].

               N.    Objection and Reservation of Rights with Respect to Motion of the Debtors
                     and the Official Committee of Unsecured Creditors for Entry of Order (I)
                     Approving the Disclosure Statement on an Interim Basis; (II) Scheduling a
                     Combined Hearing on Final Approval of the Disclosure Statement, Plan
                     Confirmation and Deadlines Related Thereto; (III) Approving the
                     Solicitation, Notice and Tabulation Procedures and Forms Related Thereto;
                     and (IV) Granting Related Relief [Filed: 01/15/2025; D.I. 470].

               O.    Response of the New Jersey Department of Health to the Plan Proponents’
                     Motion for Entry of an Order (I) Approving the Disclosure Statement on an
                     Interim Basis; (II) Scheduling a Combined Hearing on Final Approval of
                     the Disclosure Statement, Plan Confirmation and Deadlines Related
                     Thereto; (III) Approving the Solicitation, Notice and Tabulation Procedures
                     and Forms Related Thereto; and (IV) Granting Related Relief [Filed:
                     01/15/2025; D.I. 471].

               P.    Declaration of James P. Flynn In Support of BMC Hospital, LLC’s
                     Objection to Motion of the Debtors and the Official Committee of
                     Unsecured Creditors for Entry of Order (I) Approving the Disclosure
                     Statement on an Interim Basis; (II) Scheduling a Combined Hearing on
                     Final Approval of the Disclosure Statement, Plan Confirmation and
                     Deadlines Related Thereto; (III) Approving the Solicitation, Notice and
                     Tabulation Procedures and Forms Related Thereto; and (IV) Granting
                     Related Relief [Filed: 01/15/2025; D.I. 472].

               Q.    The County of Hudson’s Limited Objection and Reservation of Rights to
                     Debtors and Official Committee of Unsecured Creditors for Entry of Order
                     (I) Approving the Disclosure Statement on an Interim Basis; (II)
                     Scheduling a Combined Hearing on Final Approval of the Disclosure
                     Statement, Plan Confirmation and Deadlines Related Thereto; (III)
                     Approving the Solicitation, Notice and Tabulation Procedures and Forms
                     Related Thereto; and (IV) Granting Related Relief [Filed: 01/15/2025; D.I.
                     474].

               R.    Preliminary Objection, Joinder, and Reservation of Rights of Dr. Vijayant
                     Singh, in His Capacity as Relator, to Motion of the Debtors and Official
                     Committee of Unsecured Creditors for Entry of Order (I) Approving the
                     Disclosure Statement on an Interim Basis; (II) Scheduling a Combined
                     Hearing on Final Approval of the Disclosure Statement, Plan Confirmation
                     and Deadlines Related Thereto; (III) Approving the Solicitation, Notice and


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                       Tabulation Procedures and Forms Related Thereto; and (IV) Granting
                       Related Relief [Filed: 01/15/2025; D.I. 475].

               S.      Strategic Ventures LLC’s (I) Objection to (A) Interim Approval of Plan
                       Proponents’ Combined Disclosure Statement and Joint Chapter 11
                       Plan of Reorganization and (B) Proposed Confirmation Schedule, and
                       (II) Reservation of Rights [Filed: 01/16/2025; D.I. 496].

               T.      Pennsylvania Manufacturers’ Association has informally objected and
                       reserved rights.

               Additional Related Documents:

               U.      First Amended Combined Disclosure Statement and Joint Chapter 11
                       Plan of Reorganization [Filed: 01/16/2025; D.I. 497].

               V.      CarePoint Liquidation Analysis [Filed: 01/16/2025; D.I. 498].

               W.      Redline of First Amended Combined Disclosure Statement and Joint
                       Chapter 11 Plan of Reorganization [Filed: 01/16/2025; D.I. 499].

               Status: This matter is going forward.



       2.      Motion of the Debtors for Entry of an Order (I) Approving Stipulation Between
               Debtors, Bayonne Medical Center OPCO, LLC, Hudson Regional Hospital, LLC
               and the Official Committee of Unsecured Creditors Regarding Interim Management
               of Debtors’ Hospitals and (II) Granting Related Relief [Filed: 12/30/2024; D.I. 377].

               Related Documents: None

               Objection Deadline: January 6, 2025 at 4:00 p.m. (ET).

               Objections Received:

               A.      Limited Objection of BMC Hospital, LLC to Motion of the Debtors for
                       Order (I) Approving Stipulation Between Debtors, Bayonne Medical Center
                       OPCO, LLC, Hudson Regional Hospital, LLC and the Official Committee
                       of Unsecured Creditors Regarding Interim Management of Debtors’
                       Hospitals and (II) Granting Related Relief [Filed: 01/06/2025; D.I. 398].

               B.      Limited Objection and Reservation of Rights of J2 Funding, LLC, Signature
                       RX Investments, LLC, and Bills Right LLC to Debtors’ Motion for Entry
                       of Order (I) Approving Stipulation Between Debtors, Bayonne Medical
                       Center OPCO, LLC, Hudson Regional Hospital, LLC and the Official
                       Committee of Unsecured Creditors Regarding Interim Management of
                       Debtors’ Hospitals and (II) Granting Related Relief [Filed: 01/06/2025; D.I.
                       404].
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               C.      Limited Objection and Reservation of Rights to Motion of the Debtors for
                       Order (I) Approving Stipulation Between Debtors, Bayonne Medical Center
                       OPCO, LLC, Hudson Regional Hospital, LLC and the Official Committee
                       of Unsecured Creditors Regarding Interim Management of Debtors’
                       Hospitals and (II) Granting Related Relief [Filed: 01/06/2025; D.I. 406].

               Additional Related Documents:

               D.      Reply of the Debtors to the Limited Objection of BMC Hospital, LLC
                       to the Motion of the Debtors Regarding the Stipulation for Interim
                       Management of Debtors’ Hospitals [Filed: 01/16/2025; D.I. 494].

               E.      Proposed Order Approving Stipulation Regarding Collateral
                       Surrender Motion, Joint Venture MSA Motion and Facilities MSA
                       Motion [Filed: 01/16/2025; D.I. 495].

               Status: The parties to the Stipulation have agreed that this matter will go forward
               with respect to the limited issue of authority of HRH to operate and provide services
               to the Debtors on an interim basis, but not with respect to the issue of the terms of
               compensation to HRH for interim services.



       3.      Official Committee of Unsecured Creditors’ Motion to Shorten Notice of Motion
               Regarding the Challenge Deadline [Filed: 01/14/2025; D.I. 435].

               Related Documents:

               A.      Motion of the Official Committee of Unsecured Creditors for Entry of an
                       Order Regarding the Challenge Deadline [Filed: 01/14/2025; D.I. 434].

               Status: This matter is being heard as a status conference.



II.     MATTERS NOT GOING FORWARD

       4.      Motion of Debtors IJKG Opco, LLC and IKJG, LLC for Entry of (A) an Interim
               Order Approving Collateral Surrender and Operations Transfer Agreement to Allow
               Inter Alia, Interim Hospital Operations, (B) A Final Order Approving A Private Sale
               of All Or Substantially All Assets of IJKG Opco, LLC and IJKG, LLC and (C)
               Granting Related Relief [Filed: 11/04/2024, D.I. 18].

               Related Documents:

               A.      Order Approving Stipulation Regarding Matters Scheduled for Hearing on
                       December 16, 2024 [Filed: 12/02/2024; D.I. 214].


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               B.     Certification of Counsel Regarding Order Approving Stipulation Modifying
                      Prior Stipulation and Rescheduling Certain Matters for hearing on January
                      7, 2025 [Filed: 12/09/2024; D.I. 266]

               C.     Order Approving Stipulation Modifying Prior Stipulation and Rescheduling
                      Certain Matters for hearing on January 7, 2025 [Filed: 12/10/2024; D.I. 272]

               Objection Deadline: December 9, 2024 at 4:00 p.m. (ET). The supplemental
               objection deadline is December 11, 2024 at 4:00 p.m. (ET). The Objection
               Deadline was further extended to December 20, 2024 at 4:00 p.m. (ET)[D.I. 272].

               Responses:

               D.     Limited Objection of Insight Management and Consulting Services, Inc. to
                      Debtors’ First Day Motions [Filed: 11/06/2024, D.I. 71].

               E.     BMC Hospital, LLC’s Objection to (I) Bayonne Debtors’ DIP Financing
                      Motion (II) Collateral Surrender Motion, and (III) Management Services
                      Motion [Filed: 11/06/2024; D.I. 76].

               F.     Supplemental Objection of Insight Management and Consulting Services
                      Inc. to Debtors’ First Day Motions [Filed: 11/07/2024; D.I. 109].

               G.     Limited Objection of Sodexo Operations, LLC to: (1) Motion of Debtors
                      IJKG Opco, LLC and IKJG, LLC for Entry of (A) an Interim Order
                      Approving Collateral Surrender and Operations Transfer Agreement to
                      Allow Inter Alia, Interim Hospital Operations, (B) A final Order Approving
                      a Private Sale of All or Substantially All Assets of IJKG opco, LLC and
                      IJKG, LLC and (C) Granting Related Relief; (2) Motion of the Debtors for
                      Entry of Interim and Final Orders (I) Authorizing the Assumption of
                      Management Services Agreement, (II) Scheduling a Final Hearing, and (III)
                      Granting Related Relief; and (3) Motion of the Debtors for an Order (I)
                      Authorizing the Entry Into the Hospital Facilities Management Services
                      Agreement, and (II) Granting Related Relief [Filed: 12/19/2024; D.I. 331].

               H.     Reservation of Rights and, to the Extent Necessary, Limited Objection to
                      Debtor’s Motion for Entry of Orders (A) Approving Collateral Surrender
                      Agreement and (B) Authorizing the Assumption of the Management
                      Services Agreement and the Form and Manner of Notice Thereof [Filed:
                      12/20/2024; D.I. 332].

               I.     Reservation of Committee of Interns and Residents to Debtors’ Motion for
                      a Private Sale of Bayonne Medical Center [Filed: 12/20/2024; D.I. 333].

               J.     First Financial Holdings, LLC dba First Financial Equipment Leasing’s
                      Opposition to Debtors IJKG Opco, LLC and IKJG, LLC’s Motion for Entry
                      of (A) an Interim Order Approving Collateral Surrender and Operations
                      Transfer Agreement to Allow Inter Alia, Interim Hospital Operations, (B)
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                      A final Order Approving a Private Sale of All or Substantially All Assets of
                      IJKG opco, LLC and IJKG, LLC and (C) Granting Related Relief [Filed:
                      12/20/2024; D.I. 334].

               K.     Affidavit in Support of Opposition of First Financial Holdings, LLC dba
                      First Financial Equipment Leasing re D.I. 334 [Filed: 12/20/2024; D.I. 335].

               L.     Joinder of SCG Capital Corporation to First Financial Holdings, LLC dba
                      First Financial Equipment Leasing’s Opposition to Debtors IJKG Opco,
                      LLC and IKJG, LLC’s Motion for Entry of (A) an Interim Order Approving
                      Collateral Surrender and Operations Transfer Agreement to Allow Inter
                      Alia, Interim Hospital Operations, (B) A final Order Approving a Private
                      Sale of All or Substantially All Assets of IJKG opco, LLC and IJKG, LLC
                      and (C) Granting Related Relief [Filed: 12/20/2024; D.I. 337].

               M.     Limited Objection and Reservation of Rights of Cerecore [Filed:
                      12/20/2024; D.I. 338].

               Status: The Debtors are not seeking approval of the Motion at this time. The
               Debtors will seek limited relief related to the Motion pursuant to D.I. 377 at a
               hearing scheduled for February 12, 2025 at 10:00 a.m.



       5.      Motion of the Debtors for Entry of Interim and Final Orders (I) Authorizing the
               Assumption of Management Services Agreement, (II) Scheduling a Final Hearing,
               and (III) Granting Related Relief [Filed: 11/04/2024, D.I. 19].

               Related Documents:

               A.     Order Approving Stipulation Regarding Matters Scheduled for Hearing on
                      December 16, 2024 [Filed: 12/02/2024; D.I. 214]. (See 4A)

               B.     Certification of Counsel Regarding Order Approving Stipulation Modifying
                      Prior Stipulation and Rescheduling Certain Matters for hearing on January
                      7, 2025 [Filed: 12/09/2024; D.I. 266]. (See 4B)

               C.     Order Approving Stipulation Modifying Prior Stipulation and Rescheduling
                      Certain Matters for hearing on January 7, 2025 [Filed: 12/10/2024; D.I.
                      272]. (See 4C)

               Objection Deadline: December 9, 2024 at 4:00 p.m. (ET). The supplemental
               objection deadline is December 11, 2024 at 4:00 p.m. (ET). The Objection
               Deadline was further extended to December 20, 2024 at 4:00 p.m. (ET)[D.I. 272].

               Responses:



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               D.      Limited Objection of Insight Management and Consulting Services, Inc. to
                       Debtors’ First Day Motions [Filed: 11/06/2024, D.I. 71]. (See 4D)

               E.      BMC Hospital, LLC’s Objection to (I) Bayonne Debtors’ DIP Financing
                       Motion (II) Collateral Surrender Motion, and (III) Management Services
                       Motion [Filed: 11/06/2024; D.I. 76]. (See 4E)

               F.      Supplemental Objection of Insight Management and Consulting Services
                       Inc. to Debtors’ First Day Motions [Filed: 11/07/2024; D.I. 109]. (See 4F)

               G.      Limited Objection of Sodexo Operations, LLC to: (1) Motion of Debtors
                       IJKG Opco, LLC and IKJG, LLC for Entry of (A) an Interim Order
                       Approving Collateral Surrender and Operations Transfer Agreement to
                       Allow Inter Alia, Interim Hospital Operations, (B) A final Order Approving
                       a Private Sale of All or Substantially All Assets of IJKG opco, LLC and
                       IJKG, LLC and (C) Granting Related Relief; (2) Motion of the Debtors for
                       Entry of Interim and Final Orders (I) Authorizing the Assumption of
                       Management Services Agreement, (II) Scheduling a Final Hearing, and (III)
                       Granting Related Relief; and (3) Motion of the Debtors for an Order (I)
                       Authorizing the Entry Into the Hospital Facilities Management Services
                       Agreement, and (II) Granting Related Relief [Filed: 12/19/2024; D.I. 331].
                       (See 4G)

               H.      Limited Objection and Reservation of Rights of Cerecore [Filed:
                       12/20/2024; D.I. 338]. (See 4M)

               Status: The Debtors are not seeking approval of the Motion at this time. The
               Debtors will seek limited relief related to the Motion pursuant to D.I. 377 at a
               hearing scheduled for February 12, 2025 at 10:00 a.m.



       6.      Motion of the Debtors for an Order (I) Authorizing the Entry Into the Hospital
               Facilities Management Services Agreement, and (II) Granting Related Relief [Filed:
               12/01/2024; D.I. 212].

               Related Documents:

               A.      Certification of Counsel Regarding Order Approving Stipulation Modifying
                       Prior Stipulation and Rescheduling Certain Matters for hearing on January
                       7, 2025 [Filed: 12/09/2024; D.I. 266] (See 4B)

               B.      Order Approving Stipulation Modifying Prior Stipulation and Rescheduling
                       Certain Matters for hearing on January 7, 2025 [Filed: 12/10/2024; D.I. 272]
                       (See 4C)

               Objection Deadline: December 9, 2024 at 4:00 p.m. (ET). The Objection
               Deadline was extended to December 20, 2024 at 4:00 p.m. (ET).
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                Objections Received:

                C.     Limited Objection of Sodexo Operations, LLC to: (1) Motion of Debtors
                       IJKG Opco, LLC and IKJG, LLC for Entry of (A) an Interim Order
                       Approving Collateral Surrender and Operations Transfer Agreement to
                       Allow Inter Alia, Interim Hospital Operations, (B) A final Order Approving
                       a Private Sale of All or Substantially All Assets of IJKG opco, LLC and
                       IJKG, LLC and (C) Granting Related Relief; (2) Motion of the Debtors for
                       Entry of Interim and Final Orders (I) Authorizing the Assumption of
                       Management Services Agreement, (II) Scheduling a Final Hearing, and (III)
                       Granting Related Relief; and (3) Motion of the Debtors for an Order (I)
                       Authorizing the Entry Into the Hospital Facilities Management Services
                       Agreement, and (II) Granting Related Relief [Filed: 12/19/2024; D.I. 331].
                       (See 4G)

                D.     Limited Objection and Reservation of Rights of Cerecore [Filed:
                       12/20/2024; D.I. 338]. (See 4M)

                Status: The Debtors are not seeking approval of the Motion at this time. The
                Debtors will seek limited relief related to the Motion pursuant to D.I. 377 at a
                hearing scheduled for February 12, 2025 at 10:00 a.m.



 Dated: January 15, 2025                      DILWORTH PAXSON LLP

                                              /s/ Peter C. Hughes
                                              Peter C. Hughes (DE 4180)
                                              800 N. King Street, Suite 202
                                              Wilmington, DE 19801
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                                                             and

                                              Lawrence G. McMichael (admitted pro hac vice)
                                              Peter C. Hughes (DE 4180)
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                                        Counsel for the Debtors




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